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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALEGRA,
  on their own behalf and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


                                          MINUTE ORDER

  JUDGE JOHN L. KANE ORDERS:

          In light of the opinion of the Tenth Circuit Court of Appeals, this case is referred to
  Magistrate Judge Hegarty for him to conduct such conferences and proceedings as he deems
  appropriate for purposes of settlement. Absent a recommendation from Magistrate Judge Hegarty
  to stay or continue, the proceedings in this case shall proceed as scheduled and as will be
  scheduled. So, in accordance with my June 7, 2017 Minute Order, the parties amended Proposed
  Stipulated Scheduling Order shall be filed on or before March 12, 2018.

  DATED: February 12, 2018
